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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                       *          CRIMINAL NO: 20-55

              v.                               *          SECTION: “F” (4)

JASON R. WILLIAMS                               *
NICOLE E. BURDETT
                                         *      *     *

           REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

       In its opposition, the government has confirmed that Mr. Williams was improperly

selected for investigation and prosecution.     Disturbingly, the government states that Mr.

Williams has been criminally prosecuted because he “failed to meet with” IRS Special Agent

Lori Marable in 2018 and “due to the fact that he was a public official.” Rec. Doc. 61 at 3. This

is both vindictive and selective, and the indictment against Mr. Williams must be dismissed.

I.     The government has admitted that Mr. Williams has been vindictively prosecuted.

       The government offers two reasons for opening a criminal tax investigation into Mr.

Williams, and neither have anything to do with his taxes. First, the government states that it

referred Mr. Williams for a criminal tax investigation because he “failed to meet” with Special

Agent Lori Marable when she attempted to interview him as a witness during her investigation of

Henry Timothy. Second, the government states that it referred Mr. Williams for criminal tax

prosecution because he is a public official. Neither of these reasons are legitimate purposes for

pursuing a criminal tax investigation, and both demonstrate actual vindictiveness on the part of

the government.




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        A.       Mr. Williams has been punished with a criminal tax investigation and
                 indictment because he “failed to meet” with Special Agent Lori Williams.

        The government first contends that Mr. Williams failed to show up for a meeting with

Special Agent Lori Marable when she wanted to interview him as a witness in connection with

her investigation into Henry Timothy.1 Rec. Doc. 61 at 3. “Because Williams failed to meet

with SA Marable,” the IRS opened a criminal tax investigation into him. Id. This chilling act of

retaliation offends any notion of fairness, due process, and justice.

        Mr. Williams had the constitutional right to decline to meet with Agent Marable, who

wanted to interview Mr. Williams as a witness in a separate criminal investigation, without a

subpoena or warrant. As the Supreme Court has pointed out:

        When law enforcement officers who are not armed with a warrant knock on a
        door, they do no more than any private citizen might do. And whether the person
        who knocks on the door and requests the opportunity to speak is a police officer
        or a private citizen, the occupant has no obligation to open the door to speak . . . .
        And even if an occupant chooses to open the door and speak with the officers, the
        occupant need not allow the officers to enter the premises and may refuse to
        answer questions at any time.

Kentucky v. King, 536 U.S. 452, 469 (2011). Shockingly, the government cites Mr. Williams’

“failure” to meet with Agent Marable as one of the reasons it referred him for a criminal tax

investigation. Rec. Doc. 61 at 3.

        “To punish a person because he has done what the law plainly allows him to do is a due

process violation ‘of the most basic sort.”” United States v. Goodwin, 457 U.S. 368, 372 (1982)

(quoting Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978). Accordingly, investigating and

prosecuting Mr. Williams because he allegedly failed to attend a voluntary interview with the


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 The government’s characterization of Mr. Williams as unwilling to meet with Agent Marable is untrue. Mr.
Williams did in fact speak with Agent Marable when she arrived unannounced at his home. Williams scheduled a
later meeting at his office but was delayed due to a City Council hearing. He repeatedly offered to reschedule with
Agent Marable but received no response. Mr. Williams requests an evidentiary hearing on this point, as well as
several others set forth below.

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IRS constitutes actual vindictiveness.

       B.      The mere fact that Mr. Williams “was a public official” is not a valid reason
               to target him for prosecution.

       The government’s second stated reason is also inappropriate. In addition to “failing to

meet” with a tax agent, the government opened a criminal tax investigation into Mr. Williams

“due to the fact that he was a public official.” Rec. Doc. 61 at 3. The government offers no

valid explanation for why Mr. Williams’ status as a public official justifies looking into his taxes,

much less initiating a criminal investigation and prosecution.

       Instead, the government cites United States v. Peskin, 527 F.2d 71, 85-86 (7th Cir. 1975),

for the proposition that “political prominence” is “not an impermissible basis for selection” for

prosecution. However, in Mr. Williams’ case, the government has turned Peskin on its head. In

Peskin, the government opened a criminal investigation into a former member of the Illinois

General Assembly after it had heard allegations that Peskin accepted bribes. Id. at 80. The

government did not investigate Peskin simply because he was politically prominent.

       Mr. Williams’ case is quite the opposite. Here, by its own admission, the government

targeted Mr. Williams simply because “he was a public official.” Rec. Doc. 61 at 3. When it

initiated its criminal tax investigation, the government knew nothing at all about his taxes.

       More importantly, when it ultimately indicted Mr. Williams, the government knew that

he was a declared candidate for District Attorney. This implicates an activity that is protected by

the First Amendment and also violates the government’s own Department of Justice policies on

political sensitivities during an election year. When the government violates its own internal

policies, or undertakes additional discretionary steps to prosecute specific defendants out of a

large class of similarly-situated individuals, that constitutes evidence that the “decision to

prosecute . . . was motivated by an improper purpose or was in bad faith.” United States v.

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Hoover, 727 F.2d 387, 389 (5th Cir. 1984). See also United States v. Steele, 461 F.2d 1148,

1152 (9th Cir. 1972) (government’s discretionary procedure of compiling background reports on

the census resistance movement was evidence of selective prosecution targeting those who

exercised their First Amendment rights) (discussed in Hoover, 727 F.2d at 390); United States v.

Falk, 479 F.2d 616, 622 (7th Cir. 1973) (government’s unusual discretionary internal approvals

to prosecute an advocate against the draft was evidence of selective prosecution targeting those

who exercised their First Amendment rights) (discussed in Hoover, 727 F.2d at 390).

           C.       The Court should reject the government’s after-the-fact justifications for
                    charging Mr. Williams.

           For the illegitimate reasons stated above, Agent Marable’s supervisor requested that IRS

Special Agent Tim Moore “get involved” in examining Mr. Williams’ taxes.                    Id.   The

government does not explain why Agent Marable’s supervisor chose Agent Moore. 2                   But

coincidentally, Agent Moore was “assigned to the FBI’s public corruption squad” and knew that

the FBI had been investigating Mr. Williams since 2016. Id. After he was mysteriously chosen

by the IRS, Agent Moore “asked the FBI if they would be interested in him participating in their

investigation.” Id. In sum, Agent Moore knew the FBI was hunting Mr. Williams, found an

excuse to look at Mr. Williams’ taxes, and offered his services to the FBI, which had been

pursuing a fruitless investigation for years.

           At the same time that it admits initiating a criminal tax case against Mr. Williams for the

vindictive reasons set forth above, the government contends that it indicted Mr. Williams for four

different reasons. Specifically, the government claims that Mr. Williams “was selected for

prosecution” because (1) he had two civil tax liens; (2) because he “owes over $16,000 from his

2015 return”; (3) because he “specializes” in tax evasion cases; and (4) because he “took a tax


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    Mr. Williams also requests an evidentiary hearing on this issue.

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class in law school.”          Rec. Doc. 61 at 10.           The Court should reject these after-the-fact

justifications as implausible.

           First, Mr. Williams’ two tax liens were released more than five years ago, on January 7,

2015. Second, it is not plausible that the government has chosen to criminally prosecute Mr.

Williams simply because he allegedly owes $16,000 in taxes. Third, Mr. Williams does not

“specialize” in tax evasion cases. His law firm’s website—after describing nine other areas of

law—simply says:

           Expansion of U.S. government oversight of businesses and financial scandals has
           led to a rise in the need for white-collar defense, internal investigations, and
           complex litigation of business dealings. Business regulation often requires sound
           defense for things such as how businesses win new business, seek payment from
           government customers, and how they compete with each other. Tax evasion,
           corruption, fraud, and theft are other areas businesses may need legal counsel to
           assist with risk management, train businesses about regulatory compliance, and
           help minimize criminal and civil liability.

           Whether you or your business has come under government scrutiny, or you want
           to learn how to avoid white-collar crime, solid legal counsel can help you
           understand all your options.3

This is not a claim of “specialization” in tax evasion cases, and the government well knows that

Mr. Williams does not have expertise in taxes. Nor is it persuasive that Mr. Williams took one

tax class in law school in 1996. These weak justifications are nothing more than an attempt to

whitewash the government’s true motivation:                  it has vindictively prosecuted Mr. Williams

because he is an African-American public official and declared candidate for public office,

because it has been unsuccessfully hunting him for years, and because he apparently irritated the

IRS. The Court should reject the government’s excuses as implausible, but at a minimum should

hold an evidentiary hearing at which Mr. Williams may controvert them.




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    https://jrwilliamslawfirm.com/what-we-do/ (emphasis added).

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II.    The government has failed to rebut Mr. Williams’ claim of selective prosecution.

       With respect to selective prosecution, Mr. Williams has clearly made “a prima facie

showing that he has been singled out for prosecution while others similarly situated in

committing the same acts have not.” United States v. Hoover, 727 F.2d 387, 389 (5th Cir. 1984).

Mr. Williams and the rest of Henry Timothy’s clients are all similarly situated: they are all small

business owners who hired Mr. Timothy to prepare their taxes, and Mr. Timothy took aggressive

Schedule C deductions for all of them. As is set forth in great detail in Mr. Williams’ original

brief, Timothy deducted similar percentages of Schedule C income for virtually all of his clients.

Choosing Mr. Williams as the only one of these clients for prosecution is selective—especially

in light of the government’s admissions discussed above.

       The government cannot rebut this claim, because Mr. Williams is the only Timothy client

whom the government has investigated (except for C.D., who has been cleared of any

wrongdoing, even though she paid approximately $35,000 in taxes on more than $3.5 million in

income). Instead, the government states that it is “unreasonable” for Mr. Williams to suggest

“that all, most, or some (as yet unidentified percentage satisfactory to Defendants) of Timothy

clients must be prosecuted.” Rec. Doc. 61 at 9. The government misses the point. Mr. Williams

does not believe any of Timothy’s clients should be prosecuted, including himself. That is why

Mr. Williams has gone into such detail to show why Mr. Timothy’s story to the government—

that Williams and Burdett pressured him to take improper deductions—is contradicted by all

objective evidence and is sheer nonsense. The fact that the government accepted a demonstrably

false story to indict Mr. Williams—without even looking at Timothy’s other clients to determine

if his story makes sense—highlights its selective and vindictive motives.




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III.    The Court should dismiss the indictment.

        As the Supreme Court pointed out in Goodwin, it is hard to make out a vindictive

prosecution claim because “[m]otives are complex and difficult to prove.” 457 U.S. at 373.

However, the government has admitted its motives for prosecuting Mr. Williams. “[D]ue to the

fact that he was a public official,” the government hunted Mr. Williams for years without

success. When he “failed to meet” with an IRS Special Agent who wanted to interview Williams

as a witness in her investigation of Henry Timothy, the government decided to open a criminal

tax investigation into Mr. Williams, without any basis. Now, the government has charged Mr.

Williams (the witness) with pressuring Mr. Timothy (the target) to lower Williams’ taxes, when it

is clear that Timothy was doing the same thing for all of his clients.

        “A claim of vindictive prosecution implicates a right for which the remedy is the

dismissal of charges.” Rhodes v. Plummer, 1996 WL 721825, at *2 (N.D. Cal. Dec. 9, 1996)

(citing United States v. Hollywood Motor Car Co., 458 U.S. 263, 269 (1982)); see also United

States v. Gervasi, 562 F. Supp. 632, 642 (N.D. Ill. 1983) (stating that the remedy for a proven

case of vindictive prosecution is a dismissal of the indictment). Similarly, the remedy or

selective prosecution is “generally dismissal of the suit that was selectively prosecuted.” United

States v. Vazquez, 145 F.3d 74, 82 (2d Cir. 1998).

        Because Mr. Williams has demonstrated actual vindictiveness by the government, and

because the government has failed to rebut Williams’ claims of selective prosecution, the Court

should dismiss the indictment.

        Alternatively, Mr. Williams requests an evidentiary hearing to call Special Agent Lori

Marable, Agent Marable’s supervisor, and Special Agent Moore to controvert the government’s

proffered justifications for seeking an indictment and Henry Timothy to demonstrate that the



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government has deliberately ignored the objective evidence in its efforts to selectively and

vindictively prosecute him.

                                          Respectfully submitted,

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